                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO


LORI CHURCHWELL,                             §
                                             §
        Plaintiff,                           §
                                             §
                                             §
                                             §     C A NO. 1:18-CV-01033-SMV-SCY
METROPOLITAN LIFE INSURANCE                  §
COMPANY,                                     §
                                             §
        Defendant.                           §

                               STIPULATION OF DISMISSAL

        Plaintiff Lori Churchwell announces to the Court that the matters in controversy

herein have been settled and that the consideration therefore has been paid in full and

received. In accordance with the Settlement Agreement and Release executed by the

parties, the parties stipulate as follows:

        1.      That all claims, demands, debts, or causes of action asserted herein by

and between Plaintiff and Defendant be DISMISSED WITH PREJUDICE; and

        2.      That all attorneys’ fees and costs be taxed against the party incurring
them.


                                             STIPULATED TO AND APPROVED BY:

                                             MARC WHITEHEAD & ASSOCIATES, LLP

                                             By: s/ Britney Anne Heath McDonald
                                                    Britney Anne Heath McDonald
                                                    State Bar No. 24083158
                                                    S.D. No. 2621983
                                                    5300 Memorial Drive, Suite 725
                                                    Houston, Texas 77007
                                                    Telephone: 713-228-8888
                                                    Facsimile: 713-225-0940
                                CERTIFICATE OF SERVICE

             I hereby certify that on November 4, 2019, I electronically transmitted the

foregoing STIPULATION OF DISMISSAL to the Clerk’s office using the Court’s

CM/ECF System, and thereby served all counsel of record in this matter.



                                                       s/ Britney Anne Heath McDonald
                                                      Britney Anne Heath McDonald
